Case 17-47957   Doc 19     Filed 12/09/17 Entered 12/09/17 23:45:41   Imaged
                         Certificate of Notice Pg 1 of 3
           Case 17-47957        Doc 19    Filed 12/09/17 Entered 12/09/17 23:45:41             Imaged
                                       Certificate
                                      United Statesof Notice  Pg 2Court
                                                       Bankruptcy  of 3
                                      Eastern District of Missouri
In re:                                                                                 Case No. 17-47957-cer
Cemeish Elaine Orso                                                                    Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0865-4          User: pott                   Page 1 of 2                   Date Rcvd: Dec 07, 2017
                              Form ID: pdfo2               Total Noticed: 52


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 09, 2017.
db             +Cemeish Elaine Orso,    8736 Marcella Avenue,    Bel Ridge, MO 63121-4106
21547084      #+AARON SALES,    1015 COBB PLACE BOULEVARD NW,    KENNESAW, GA 30144-3672
21547085       +ABILITY RECOVERY SERVICES,    POST OFFICE BOX 4032,    WYOMING, PA 18644-0032
21547086       +ALAN SHAPIRO,    4469 RENAISSANCE PARKWAY,    WARRENSVILLE HEIGHTS, OH 44128-5754
21547087       +AMEREN MISSOURI,    POST OFFICE BOX 790098,    ST. LOUIS, MO 63179-0098
21547088       +AT&T MOBILE SERVICE,    POST OFFICE BOX 536216,    ATLANTA, GA 30353-6216
21547089      #+AUDREY AND ZACHARY SCHMOOK,    18 LAWN PLACE,    ST. LOUIS, MO 63110-1417
21547090       +BARNES JEWISH HOSPITAL,    660 SOUTH EUCLID,    ST. LOUIS, MO 63110-1010
21547091       +BJC HEALTHCARE,    POST OFFICE BOX 958417,    ST. LOUIS, MO 63195-8417
21547092       +CAPITAL ONE BANK CARD / PORTFOLIO RECOVERY SERVICE,     120 CORPORATE BOULEVARD SUITE 1,
                 NORFOLK, VA 23502-4952
21547093       +CASH ADVANCE AMERICA STORE #4164,    208 SOUTH MERRIMAN ROAD,     WESTLAND, MI 48186-5009
21547094       +CHARTER COMMUNICATIONS / CREDIT MANAGEMENT LP,     4200 INTERNATIONAL PARKWAY,
                 CARROLTON, TX 75007-1912
21547096       +COMCAST CABLE / CONVRGENT OUTSOURCES,    800 WEST 39TH STREET,     RENTON, WA 98057-4975
21547097       +COMMUNITY HOSPITAL AT LONG BEACH / PROGRESSIVE MAN,     1521 WEST CAMERON AVENUE FL 1,
                 WEST COVINA, CA 91790-2738
21547098        DIRECT TV / CBE GROUP,    2230 EAST IMPERIAL HIGHWAY MAIL STATION,     EL SEGUNDO, CA 90245
21547101       +DR. SAMUEL SAMSON / CONGRESS COLLECTION CORP,     22731 Newman St Ste 100 A,
                 Dearborn MI 48124-2031
21547102       +DTE ENERGY/ TRANSWORLD SYSTEMS,    500 VIRGINIA DRIVE SUITE 514,     FT. WASHINGTON, PA 19034-2707
21547104       +ERIC LEDERMAN, MD,    POST OFFICE BOX 958477,    ST. LOUIS, MO 63195-0001
21547105       +FEDERAL LOAN SERVICING,    POST OFFICE BOX 60610,    HARRISBURG, PA 17106-0610
21547106       +FIRST PREMIER BANK,    601 SOUTH MINNESOTA AVENUE,    SIOUX FALLS, SD 57104-4868
21547107       +GM FINANCIAL,    POST OFFICE BOX 181145,    ARLINGTON, TX 76096-1145
21547109       +ILLINOIS STATE TOLL,    POST OFFICE BOX 5544,    CHICAGO, IL 60680-5544
21547111       +JP MORGAN CHASE,    370 SOUTH CLEVELAND AVENUE,    WESTERVILLE, OH 43081-8917
21547112       +MEMORIAL MEDICAL CENTER / PROGRESSIVE MANAGEMENT S,     1521 WEST CAMERON AVENUE FL 1,
                 WEST COVINA, CA 91790-2738
21547113       +MISSOURI AMERICAN WATER,    POST OFFICE BOX 790247,    ST. LOUIS, MO 63179-0247
21547114       +PACIFIC HOSPITAL / CMRE FINANCIAL SERVICES,     3075 EAST IMPERIAL HIGHWAY SUITE 200,
                 BREA, CA 92821-6753
21547115       +PENN FOSTER,    POST OFFICE BOX 417702,    BOSTON, MA 02241-7702
21547116       +PROGRESSIVE FINANCIAL LEASING,    256 West Data Drive,    DRAPER, UT 84020-2315
21547118       +RICHARD GRAVES DPM / CAPITAL ACCOUNTS,     POST OFFICE BOX 140065,    NASHVILLE, TN 37214-0065
21547119       +SARBPAUL BHALLA MD / AAA COLLECTIONS,    POST OFFICE BOX 6605,     ORANGE, CA 92863-6605
21547120        SOCIAL SECURITYADMINISTRATION,    601 EAST TWELTH STREET,    KANSAS CITY, MO 64106
21547121       +SOUTHERN CALIFORNIA EDISON,    2131 WALNUT GROVE AVENUE,    ROSEMEAD, CA 91770-3769
21547122       +SPECTRUM CHARTER COMMUNICATIONS,    POST OFFICE BOX 790086,     ST. LOUIS, MO 63179-0086
21547123       +SPIRE,   DRAWER 2,    ST. LOUIS, MO 63171-0002
21547124       +SPRINT MOBILE / CONVERGENT OUTSOURCING,     800 SW 39TH STREET,    RENTON, WA 98057-4975
21547125       +ST. LUKES HOSPITAL / CONSUMER COLLECTION MN,     2333 GRISSON DRIVE,    ST. LOUIS, MO 63146-3322
21547127       +T MOBILE COMMUNICATIONS /AMSHER SERVICES,     4524 SOUTH LAKE PARKWAY SUITE 15,
                 HOOVER, AL 35244-3271
21547128       +TRANSWORLD SYSTEMS FOR SSM DEPAUL HOSPITAL,     500 VIRGINIA DRIVE SUITE 514,
                 FT. WASHINGTON, PA 19034-2707
21547129       +U-HAUL,   29500 MICHIGAN AVENUE,    INKSTER, MI 48141-2049
21547130       +VERIZON COMMUNICATIONS / TRIDENT ASSET MANAGEMENT,     53 PERIMETER CENTER SUITE 4,
                 ATLANTA, GA 30346-2294
21547131       +WAYNE AUTO SALES,    33133 MICHIGAN AVENUE,    WAYNE, MI 48184-1898
21547132       +WEST END LEASING SERVICES,    200 SOUTH HANLEY ROAD SUITE 1040,     CLAYTON, MO 63105-3496
21547133       +WESTCOM CREDIT UNION,    2600 CHERRY AVENUE,    SIGNAL HILL, CA 90755-2009

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
21547099       +E-mail/Text: Bankruptcy.Consumer@dish.com Dec 08 2017 00:01:06       DISH NETWORK LLC,
                 POST OFFICE BOX 9033,    LATTELON, CO 80160-9033
21547100       +E-mail/Text: bankruptcynotices@dcicollect.com Dec 08 2017 00:01:32       DIVERSIFIED CONSULTANT,
                 10550 DEERWOOD PARK BOULEVARD,    JACKSONVILLE, GA 32256-0596
21547103       +E-mail/Text: bknotice@erccollections.com Dec 08 2017 00:01:11       ENHANCED RECOVERY CO LLC,
                 8014 BAYBERRY ROAD,    JACKSONVILLE, FL 32256-7412
21547108       +E-mail/Text: Harris@ebn.phinsolutions.com Dec 08 2017 00:02:03       HARRIS & HARRIS LTD,
                 111 WEST JACKSON BOULEVARD SUITE 400,    CHICAGO, IL 60604-4135
21547110       +E-mail/Text: cio.bncmail@irs.gov Dec 08 2017 00:00:54       INTERNAL REVENUE SERVICE,
                 CENTRALIZED INSOLVENCY OPERATION,    POST OFFICE BOX 7346,    PHILADELPHIA, PA 19101-7346
21548132       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Dec 08 2017 00:02:42
                 PRA Receivables Management, LLC,    PO Box 41021,   Norfolk, VA 23541-1021
21547117       +E-mail/Text: bankruptcy@rentacenter.com Dec 08 2017 00:01:56       RAC ACCEPTANCE,
                 23835 GREENFIELD ROAD,    SOUTHFIELD, MI 48075-3122
21547126       +E-mail/Text: home.fss-bankruptcy.934c00@statefarm.com Dec 08 2017 00:01:17
                 STATE FARM INSURANCE COMPANY,    4700 SOUTH PROVIDENCE,    COLUMBIA, MO 65217-0001
21547134       +E-mail/Text: bankruptcynotice@westlakefinancial.com Dec 08 2017 00:01:08
                 WESTLAKE FINANICAL SERVICES,    4751 WILSHIRE BOULEVARD,    LOS ANGELES, CA 90010-3827
                                                                                              TOTAL: 9
              Case 17-47957            Doc 19      Filed 12/09/17 Entered 12/09/17 23:45:41                          Imaged
                                                 Certificate of Notice Pg 3 of 3

District/off: 0865-4                  User: pott                         Page 2 of 2                          Date Rcvd: Dec 07, 2017
                                      Form ID: pdfo2                     Total Noticed: 52


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management LLC,   PO Box 41021,   Norfolk, VA 23541-1021
21547095*        +CHARTER COMMUNICATIONS / CREDIT MANAGEMENT LP,   4200 INTERNATIONAL PARKWAY,
                   CARROLTON, TX 75007-1912
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 09, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 7, 2017 at the address(es) listed below:
              Office of US Trustee    USTPRegion13.SL.ECF@USDOJ.gov
              Tom K. O’Loughlin    heatherp@oloughlinlawfirm.com, MO15@ecfcbis.com;jpoloughlinlaw@gmail.com
                                                                                            TOTAL: 2
